Case 2:04-CV-02860-SHI\/|-tmp Document 10 Filed 05/31/05 Page 1 of 2 Page|D 16

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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LEBORA MABRY,
Plaintiff,
v. Cv. No. 04-2860-Ma
MEMPHIS MENTAL HEALTH HOSPITAL,
Defendant.
JUDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed

with prejudice, in accordance with the Order of Dismissal,
docketed May 25, 2005.

APPROVEW V/L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 10 in
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Honorable Samuel Mays
US DISTRICT COURT

